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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

  IN RE: PHILIPS RECALLED CPAP,                     )
  BI-LEVEL PAP, AND MECHANICAL                      )
  VENTILATION PRODUCTS                              ) Master Docket: Misc. No. 21-1230
  LITIGATION                                        )
                                                    )
                                                    ) MDL No. 3014
  This Document Relates to:                         )
  Nathaniel D. Roberts, 2:23-cv-01027               )
                                                    )
                                               ** ** *


       MEMORANDUM OF THE PHILIPS DEFENDANTS1 IN OPPOSITION
    TO PLAINTIFF NATHANIEL ROBERTS’ RENEWED MOTION TO REMAND

       The Court should deny Plaintiff’s Renewed Motion to Remand, Roberts v. Philips

Respironics, Inc., et al., No. 2:23-CV-01027, ECF No. 22 (“Renewed Motion”), and decline to

remand Plaintiff’s case for two primary reasons. First, because Plaintiff failed to file his motion

to remand with this Court pursuant to PTO-22, there is no motion to remand pending before this

Court for consideration—“renewed” or otherwise. ECF No. 701 modified by ECF No. 1901.

Second, and as described further in the Philips Defendants’ Opposition to Plaintiff’s Motion to

Remand filed in Roberts v. Philips Respironics Inc., et al., 1:23-CV-00201-MV-KK (D. New

Mexico) (“New Mexico Action”), ECF No. 14 (“Opposition”), which is incorporated herein, this

Court has federal diversity jurisdiction over Plaintiff’s claims because the parties are completely

diverse and Plaintiff’s claims for “serious personal injury,” “disability,” punitive damages, and

attorneys’ fees demonstrate an amount in controversy in excess of $75,000. Opposition at 11-16;



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        The Philips Defendants are defined as Koninklijke Philips N.V., Philips North America
LLC, Philips RS North America LLC, Philips Holdings USA, Inc., and Philips RS North America
Holding Corporation.

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see also New Mexico Action, ECF No. 1 (Notice of Removal) at ¶¶ 36-51.2 Plaintiff’s alternative

request to remand this action to the United States District Court for the District of New Mexico

should be denied because coordinated pretrial processes in this MDL are ongoing, including for

Plaintiff. See In Re Wilson, 451 F.3d 161, 165 n.5 (3d Cir. 2006) (citing 28 U.S.C. § 1407(a));

Docket Management Order of Litigating Plaintiffs, ECF No. 2769.




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  Plaintiff’s suggestion, which appears for the first time in the Renewed Motion, that Plaintiff was
deprived a “hearing []or findings of fact” in the New Mexico Action prior to transfer, Renewed
Motion p. 1 (citing Order of Reference to Magistrate Judge), adds nothing to the analysis. While
the district judge referred Plaintiff’s motion to remand and the Philips Defendants’ motion to stay
pending transfer to a magistrate judge for determination, New Mexico Action, ECF No. 11,
jurisdiction over Plaintiff’s case was transferred to the MDL before the magistrate judge scheduled
or held any such proceedings.
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Dated: March 14, 2025                 Respectfully submitted,


                                      /s/ John P. Lavelle, Jr.

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                                      Holdings USA, Inc. and Philips RS North
                                      America Holding Corporation




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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 14, 2025, the foregoing document was electronically filed

with the Clerk of the Court and served upon counsel of record through the Court’s ECF filing

system.



   /s/ John P. Lavelle, Jr.
   John P. Lavelle, Jr




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